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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )            8:07CR426
                      Plaintiff,                    )
                                                    )          REPORT AND
       vs.                                          )
                                                    )      RECOMMENDATION
BENNY WILSON,                                       )
                                                    )        ON GUILTY PLEA
                      Defendant.                    )


       On July 17, 2008, defendant Benny Wilson (Wilson), together with his counsel, Dana
C. Bradford, appeared before the undersigned magistrate judge and was advised of the
charges, the penalties and the right to appear before a United States District Judge. After
orally consenting to proceed before a magistrate judge, Wilson entered a plea of guilty to
Count I of the Indictment.
       After being sworn, Wilson was orally examined by the undersigned magistrate judge
in open court as required by Federal Rule of Criminal Procedure 11. Wilson also was given
the advice required by that Rule. Finally, Wilson was given a full opportunity to address the
court and ask questions.
       Counsel for the government and counsel for Wilson were given the opportunity to
suggest additional questions by the court. Moreover, both counsel orally certified that they
were of the opinion that the plea was knowing, intelligent and voluntary, and that there was
a factual basis for Wilson’s plea of guilty to Count I of the Indictment.
       Therefore, I find and conclude that: (1) the plea is knowing, intelligent, and voluntary;
(2) there is a factual basis for the plea; (3) the provisions of Rule 11 and any other
provisions of the law governing the submission of guilty pleas have been complied with; (4)
a petition to enter a plea of guilty, on a form approved by the court, was completed by
Wilson, Wilson’s counsel and counsel for the government, and such petition was placed
in the court file; (5) the plea agreement is in writing and is filed in the court file; (6) there
were no other agreements or stipulations other than as contained in the written plea
agreement.
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       IT IS RECOMMENDED TO JUDGE LAURIE SMITH CAMP that:
       1.     She accept the guilty plea and find the defendant, Benny Wilson, guilty of the
crime set forth in Count I of the Indictment to which Wilson tendered a guilty plea;
       2.     She accept the written plea agreement with the understanding that the court
is not bound by the parties’ stipulations, but may with the aid of the presentence report,
determine the facts relevant to sentencing.


                                        ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) business days after being served with a
copy of this Report and Recommendation. Failure to timely object may constitute a waiver
of any such objection. The brief in support of any objection shall be filed at the time of filing
such objection. Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 17th day of July, 2008.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge




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